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Related Cases

Case Name                                                         Case Number     Court Active Judge
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